Case 4:19-cv-07123-PJH   Document 509-3   Filed 01/09/25   Page 1 of 3




                         Exhibit B
               Case 4:19-cv-07123-PJH        Document 509-3        Filed 01/09/25      Page 2 of 3


Mina Tunson-Stevenson

From:                           EXT - Luca Marzorati
Sent:                           Friday, July 19, 2024 12:37 PM
To:                             Joe Akrotirianakis; Aaron Craig
Cc:                             EXT - fb nso; K&S NSO
Subject:                        WhatsApp v. NSO: Designation of Experts for HC-AEO Material
Attachments:                    FTI - CVs.zip; FTI - Protective Orders.zip



CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

Pursuant to Section 7.4(a)(3) of the Stipulated Protective Order (Dkt. No. 132), Plaintiffs hereby provide notice
of their designation of David Youssef, Matthew McManus, Matteson Williams, Gabe Nobles, and George J.
Arden III as Experts authorized to receive discovery designated in this case as “HIGHLY CONFIDENTIAL –
ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

This request encompasses discovery from any Designating Party that King & Spalding represents in
connection with discovery in this matter, including without limitation the following:

   -       NSO Group Technologies Limited
   -       Q Cyber Technologies Limited
   -       Westbridge Technologies, Inc.
   -       Compass Stratagem, LLC
   -       Omri Lavie
   -       Josh Shaner
   -       Terrence DiVittorio

A copy of the Experts’ CV and signed copies of the Experts’ “Acknowledgment and Agreement to be Bound”
(Exhibit A) are attached hereto. The general categories of information that Plaintiffs seek to disclose to the
Experts are documents and communications reflecting the operation, capabilities, design, installation,
maintenance, and use of Defendants’ spyware. Pursuant to Section 7.3(d)(1) of the Stipulated Protective
Order, disclosure to the above-referenced Experts is reasonably necessary for this litigation because they
possesses the technical expertise necessary to assist counsel in providing advice to Plaintiffs about these
materials.

Since his tenure with FTI Consulting began in 2017, Mr. Youssef has provided professional services to at least
166 unique client matters. The majority of these matters are related to incident response, digital forensics, and
complex investigations. Below are summaries of pertinent matters and matters related to providing litigation
support in the past five years, to which Mr. Youssef provided professional services:

                      Litigation support matter defending a health and wellness company against an MSP
                       hired for outsourced IT services. The healthcare company (Client) was hit with
                       ransomware. Client did not believe the MSP was meeting the contractual terms and
                       stopped paying. The MSP is suing Sharecare for not paying, but Sharecare is now
                       countersuing claiming the MSP didn’t meet proper IT protocols or security controls to
                       prevent damage from the incident. As a result, the Client incurred more damage from the
                       incident.
                      Text message and email analysis in relation to ongoing litigation.
                      Data breach investigation.
                      A financial services company experienced several cybersecurity incidents over a six-
                       year span. FTI Consulting was engaged to act as an independent cybersecurity expert

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                     Case 4:19-cv-07123-PJH                           Document 509-3                     Filed 01/09/25                Page 3 of 3
                                   witness. We analyzed the opposing expert's report, which was over 800 pages long, and
                                   was based on almost 1,000 pieces of underlying evidence. We analyzed this report and
                                   provided our findings in an expert report which critiqued the appropriateness of the
                                   alleged cybersecurity baseline.
                                  Corporate espionage and theft of trade secrets.
                                  FTI Cybersecurity was retained by a major technology company to investigate a “pay-
                                   per-install” (“PPI”) service believed to be associated with the distribution of malware. The
                                   aim of the investigation was to disrupt the Cryptbot infostealer by taking down a major
                                   distribution arm and disabling Command and Control (C2) infrastructure. FTI
                                   Cybersecurity’s primary efforts focused on gathering evidence to identify infrastructure
                                   that was currently or historically used in connection with this malware family. We
                                   provided an expert witness report based on our findings.
                                  FTI Cybersecurity was retained to provide expert services. Our report explained the
                                   cybersecurity risks posted to banks and their customers, and the procedures that banks
                                   implement to mitigate such risk. Our expert analyzed the cyber fraud schemes at issue
                                   in the matter and opined on the adherence to reasonable cybersecurity procedures in
                                   processing wires.
                                  Investigation of data exfiltration; Expert report; Search for possible PII exposure.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Support related to litigation; imaging/preservation of data from client web application.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Post-acquisition dispute.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Complex Cybersecurity Investigation; Litigation matter.
                                  Conduct root cause analyses on potential data breach and provide an expert witness
                                   report in relation to civil litigation (Professional Malpractice).

Mr. Youssef has offered testimony in Collins v. Pearson Education, Inc., 1:23-cv-02219 (S.D.N.Y.) and Google
LLC v. Saeed, 23-cv-03369 (S.D.N.Y.). The CVs of Mr. McManus, Ms. Williams, Mr. Nobles, and Mr. Arden III
contain all of the additional information required by subsections (2) through (6).

Thanks,
Luca


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Davis Polk & Wardwell LLP
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